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                                                                   U. S . r c 9URT
               UNITED STATES DISTRICT COURT

              SOUTHERN DISTRICT OF GEORGIA

                      STATESBORO DIVISION



LEROY SINGLETON, JR .,                )

    Movant, }
                           }
v. } Case No . CV605-122
                           } [Underlying CR696-4 ]
UNITED STATES OF AMERICA, }
                           }
    Respondent.            }

                                      ORDER

     After a careful de novo review of the record in this case , the Court

concurs with the Magistrate Judge's Report and Recommendation, to which

objections have been filed . Accordingly, the Report and Recommendation

of the Magistrate Judge is adopted as the opinion of the Court .

     SO ORDERED thisday of .&CLg,t2 2005 .




                                        . AVANT EDENFIELB
                                       UNITED STATES DISTRIC JUDGE
                                       SOUTHERN DISTRICT OF GEORGIA
